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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

ROBERT M. HOOPER,                        )
                                         )
             Plaintiff                   )
                                         )
             v.                          )     2:13-cv-00291-JAW
                                         )
ST. ANDRE HEALTH CARE                    )
FACILITY,                                )
                                         )
             Defendant                   )

           ORDER DISMISSING COMPLAINT WITH PREJUDICE

      On August 2, 2013, Robert M. Hooper filed a complaint against St. Andre

Health Care Facility (St. Andre). Comp. (ECF No. 1). St. Andre answered the

complaint on October 4. 2013. Answer (ECF No. 7). On February 4, 2014, the Court

issued an order, scheduling the case for a settlement conference to be held on

February 21, 2014. Order Setting Settlement Conf. (ECF No. 19). On the same day,

the Court granted a motion to stay the case pending the completion of the settlement

conference. Order (ECF No. 20). On February 21, 2014, Magistrate Judge Nivison

issued an order, indicating that the case had been contingently settled, ordering the

parties to notify the Court by March 17, 2014 as to whether settlement had been

finalized, and setting April 23, 2014 for the parties to file a stipulation of dismissal.

Minute Entry (ECF No. 21).

      On April 18, 2014, the Plaintiff’s attorneys moved to withdraw as counsel and

asked for the Court to extend the deadline for filing a stipulation by ninety days. Mot.

to Withdraw Pursuant to L.R. 83.2(c) (ECF No. 22). The attorneys explained that
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after finalizing a settlement on April 3, 2014, they learned that Mr. Hooper had

passed away and therefore they no longer had the authority to enter into the

settlement or file the stipulation of dismissal on behalf of the Plaintiff. Id. at 2. The

attorneys asked for a stay of the action for ninety days after service of a statement

noting the death pursuant to Federal Rule of Civil Procedure 23(a). Id. at 3.

       On May 6, 2014, Magistrate Judge John H. Rich, III held a telephone status

conference and ordered Attorney Robert Kline to serve the suggestion of death on

each of the currently known possible successors to the Plaintiff. Report of Hr’g and

Order Re: Mot. to Withdraw (ECF No. 27). On May 7, 2014, St. Andre filed a

statement noting a party’s death and confirmed that the notice was being served on

the decedent’s four brothers.     Statement Noting a Party’s Death (ECF No. 26).

Attorney Kline filed completed certificates of service on each of the known possible

successors establishing that each had been served with a notice that if a motion for

substitution were not filed within ninety days of the statement noting a party’s death,

the Plaintiff’s Complaint would be dismissed. Process Receipt and Returns (ECF No.

28-30). The last possible successor was served on June 23, 2014 and under Rule 25(a),

the ninety period lapses after service of the statement noting the death. FED. R. CIV.

P. 25(a).

       On September 22, 2014, just before the ninety period under Rule 25(a) was set

to run, the Plaintiff moved for a ninety-day extension of the time for filing a

substitution of party. Mot. to Extend the Time for Filing a Substitution [of] a Party

(ECF No. 31). The Court granted the motion on September 23, 2014. Order (ECF
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No. 32). On October 3, 2014, the Court held a telephone conference of counsel to

discuss the status of the case. On December 15, 2014, Attorney Peter Rice filed an

affidavit, confirming that he had communicated with each of Robert M. Hooper’s

potential heirs and each confirmed that he did not wish to pursue any claims on

behalf of the estate of Robert M. Hooper or in his own right as heir against St. Andre

Health Care Facility. Am. Aff. of Peter M. Rice, Esq. (ECF No. 36). The extended

time period for filing a response to the notice of suggestion of death under Rule 25(a)

has now run and the Court has received no filings from any of the possible successors

to the Plaintiff.

       Upon receipt of Attorney Rice’s affidavit, the Court issued an Order, inquiring

of the parties what relief they were seeking.      Status Order (ECF No. 37).      On

December 24, 2014, Attorney Robert W. Kline, notified the Court that the parties are

seeking to have the case dismissed with prejudice and without costs.

       Rule 25(a) provides that if a motion for substitution is not made within the

time provided after service of a statement noting the death, the action by the decedent

“must be dismissed.” FED. R. CIV. P. 25(a). In Anderson v. Yungkau, 329 U.S. 482

(1946), the United States Supreme Court likened the old version of Rule 25(a), which

contained a two-year rule for the filing of a Rule 25(a) motion, to a statute of

limitations. Id. at 485 (“Rule 25(a) operates both as a statute of limitations upon

reviver and as a mandate to the court to dismiss an action not revived”). “Dismissal

under Rule 25(a) is ordinarily a dismissal with prejudice.” Joudeh v. MS Carriers,

Inc., No. 3:09-CV-2217-L, 2010 U.S. Dist. LEXIS 77664, at *3 (N.D. Tx. Jul. 28, 2010).
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      In accordance with Rule 25(a), the Court hereby DISMISSES the Plaintiff’s

Complaint with prejudice.

      SO ORDERED.



                                                /s/John A. Woodcock, Jr.
                                                JOHN A. WOODCOCK, JR.
                                                CHIEF U.S. DISTRICT JUDGE

      Dated this 29th day of December, 2014.
